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                                   #:255




                 EXHIBIT 24
           Case 2:16-cv-02106-PSG-SS          Document 1-24     Filed 03/28/16     Page 2 of 8 Page ID
                                                     #:256

 (/)


                                       AUTHY & GMAIL

                                         DOWNLOAD AUTHY APP (/INTALL/)




       HOW IT WORK (/TUTORIAL/)   GOOGL AUTHNTICATOR (/TUTORIAL/HOW-U-AUTHY-GOOGL-AUTHNTICATOR/)

                          GMAIL VRIFICATION (/TUTORIAL/NAL-2-TP-VRIFICATION-GMAIL/)

                   FACOOK AUTHNTICATION (/TUTORIAL/ADD-2-FACTOR-AUTHNTICATION-FACOOK/)

                      DROPOX VRIFICATION (/TUTORIAL/NAL-TWO-TP-VRIFICATION-DROPOX/)




               NAL 2 TP VRIFICATION FOR GMAIL ACCOUNT

nale a trong authentication for our gmail account and keep it afe from hacker and
hijacker  adding an additional laer of ecurit. Activate the two tep verification uing
Auth  following the next imple proce:

               Open Gmail and go to our account etting.




                                                   Ex. 24, p. 232
      Case 2:16-cv-02106-PSG-SS     Document 1-24     Filed 03/28/16   Page 3 of 8 Page ID
         Then go to ecurit. On 2-tep verification
                                            #:257    click "etting".




         Click "tart etup".




(/)
Product (/product/)

App (/app/)
                                         Ex. 24, p. 233
      Case 2:16-cv-02106-PSG-SS    Document 1-24    Filed 03/28/16   Page 4 of 8 Page ID
Developer (/developer/)
        You'll get a text-meage on our cellphone
                                           #:258    with a code. nter the code.

log (/log/)

Reource (/reource/)

Dahoard (/login/)


CONTACT AL (/CONTACT-AL/)



  GT UPPORT (/APP/#UPPORT)




         Click "Next".




                                       Ex. 24, p. 234
Case 2:16-cv-02106-PSG-SS   Document 1-24    Filed 03/28/16   Page 5 of 8 Page ID
  Click "Confirm".                 #:259




  Click "Do thi later."




                                Ex. 24, p. 235
Case 2:16-cv-02106-PSG-SS   Document 1-24     Filed 03/28/16   Page 6 of 8 Page ID
  Next to "Moile application" elect #:260
                                      Android or iPhone.




                                 Ex. 24, p. 236
Case 2:16-cv-02106-PSG-SS   Document 1-24      Filed 03/28/16   Page 7 of 8 Page ID
  Gmail will how ou a QRCode.    #:261




  Open the Auth App and on the idear click the "+ Authenticator
  Account". Click "can QR Code" and ue our camera to can it.




            00:16



                                  Ex. 24, p. 237
         Case 2:16-cv-02106-PSG-SS             Document 1-24        Filed 03/28/16   Page 8 of 8 Page ID
                                                      #:262

             nter the "Token" that ou ee in the creen on "Code:", then click "Verif
             and ave". You're done.




Developer Documentation (http://doc.auth.com/) Help! (/faq/) ecurit Iue (/ecurit-iue/)

Privac tatement (/privac-tatement/) Term of ervice (/term-of-ervice/)

Product (/product/)   App (/app/)     Developer (/developer/)   log (/log/)

Jo (http://www.gladoor.com/Jo/Twilio-auth-Jo-I_I410790.0,6_KO7,12.htm)       Pre (/compan/pre/)

Contact ale (/contact-ale/)     Get upport (/app/#upport)

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@auth (http://twitter.com/auth)     faceook.com/authec (http://www.faceook.com/authec?_rdr=p)

githu.com/auth (http://githu.com/auth)

linkedin.com/compan/auth (http://www.linkedin.com/compan/auth)




                                                     Ex. 24, p. 238
